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AO 245D-CAED (Rev. 9/01) Sheet 2 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
              JUVENAL GODINEZ
                      (Defendant’s Name)                                  Criminal Number: 1:05CR00286-002


                                                                          S. Mensel
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) One and Two as alleged in the violation petition filed on August 01, 2006 .
[]  was found in violation of condition(s) of supervision as to charge(s)   after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Num ber                    Nature of Violation                                     Date Violation Occurred
Charge One                           Failure to Participate in Drug Testing                  March 29, 2006
Charge Two                           Failure to Report to the Probation Officer as           July 05, 2006
                                     directed



The court: [ ] revokes: [U] modifies: [U] continues under same conditions of supervision heretofore ordered on March 17, 2006 .

        The releasee shall com ply with the conditions of hom e detention for a period of 90 consecutive days to com m ence
when directed by the probation office. During this tim e, the releasee will rem ain at place of residence except for
em ploym ent and other activities approved in advance by the releasee’s probation officer. The releasee will m aintain
telephone service at his place of residence without an answering device, call forwarding, a m odem , caller ID, call waiting,
or a cordless telephone for the above period.

         At the discretion of the probation officer, the releasee shall wear an electronic m onitoring device and follow
electronic m onitoring procedures as specified by the probation officer. The releasee shall pay the cost of electronic
m onitoring as determ ined by the probation officer.

       The defendant is sentenced as provided in pages 2 through 2 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.
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                                                                                             10/2/2006
                                                                                  Date of Im position of Sentence


                                                                                        /s/Anthony W . Ishii
                                                                                    Signature of Judicial Officer


                                                                          ANTHONY W . ISHII, United States District Judge
                                                                                Nam e & Title of Judicial Officer


                                                                                              11/1/06
                                                                                               Date
